      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




FINDERS KEEPERS USA LLC,

       Plaintiff,

                       v.                                   Civil Action No. I :22-cv-009-APM

UNITED STATES DEPARTMENT OF ruSTICE,

       Defendant.




                    SECOND DECLARATION OF MICHAEL G. SEIDEL

       I, Michael G. Seidel, declare as follows:

       (I)     I am the Section Chief of the Record/Information Dissemination Section

("RIDS"), Information Management Division ("!MD"), Federal Bureau oflnvestigation ("FBI"),

Winchester, Virginia. My background and qualifications are provided in my first declaration

filed on April 27, 2022, at ECF No. 17-2 (hereafter "First Seidel Declaration"). Because of the

nature of my official duties, I am familiar with the procedures followed by the FBI in responding

to requests for information from its files pursuant to the provisions of the FOIA, 5 U.S.C. § 552,

and the Privacy Act, 5 U.S.C. § 552a. Specially, I am aware of the FBI's handling of Plaintiff's

FOIA request at issue in this case.

       (2)     This declaration is my second declaration filed in this case and incorporates and

supplements my First Seidel Declaration which addressed issues raised by this Court's

Scheduling Order dated April 18, 2022, concerning the production rate, prioritization of

processing responsive records, and a future order forthcoming as to the production rate of
      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 2 of 12




responsive video material. (ECF No. 15.) The statements contained in this declaration are based

upon my personal knowledge, upon information provided to me in my official capacity, and

upon conclusions and determinations reached and made in accordance tberewitb. This

declaration is submitted in further support of Defendant's motion for a production rate of

approximately IS-months (15 interim releases) to produce the responsive videos in

approximately 15-minute increments per Compact Disc ("CD"), after processing of the paper

and photographic records is complete. In addition, this declaration is in Reply to Plaintiffs

Opposition to Defendants Motion for a Video Processing Schedule (hereafter "Opposition")

(ECF. No. 19) at tbe above stated rate.

        I.      THE FBl'S JUSTIFICATION FOR 15-MONTH PROCESSING RATE

                             ESTABLISHED RATES OF MEDIA RELEASES

       (3)     As relevant background for tbe FBI's media interim release policy, the context of

tbe entire FBI FOIPA program workload must be considered. The FBI has proposed a media

processing rate here for this case tbat has a solid basis in established media processing policies.

The FBI instituted a policy of reviewing 30 minutes of audio, 15 minutes of video, and 500 high

quality photographs per month for release on CD or Digital Video Disc ("DVD"). This rate of

processing has been considered reasonable in prior cases in tbe United States District Court for

tbe District of Columbia. For example, this same rate was submitted in case I: 18-cv-02116,

Freedom Watch, Inc. v. US. Dep't ofJust., et al., and approved by Judge Emmet G. Sullivan.

See ECF No. 22 Minute Order dated August 27, 2019.

        (4)    The FBI justified established media processing rates in the aforementioned FOIA

litigation case, as based on reasonable business practices as well as a concern for fairness and

efficiency because RIDS has a finite number of resources to devote to each case and each

                                                  2
      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 3 of 12




requester. By limiting the amount of audio, video, and photographic material RIDS analysts

must process on an interim basis, RIDS ensures more requesters are equitably serviced. This

policy derives from and is the FBI's effort to comply with DOJ FOIA regulations at 28 C.F.R. §

16.S(b) (regarding prompt disclosure of responsive material upon payment of any applicable

fees) and adherence to this policy is key to addressing the large influx ofFOIPA requests that

require the processing of media. RIDS' processing rates are well researched, are based on sound

statistical data, and enable RIDS to regularly release more media to a larger section of the

requester community in compliance with DOJ FOIA regulations. The FOIA encourages

agencies to develop multi-track processing with the goal of responding to more requests. By

processing smaller portions of media in interim releases, RIDS is able to provide more media

records to more requesters, each month. Processing media in this manner avoids a system where

a few requests containing large volumes of media monopolize RIDS' finite FOIPA media

processing resources. As stated in the First Seidel Declaration at paragraph 11, RIDS media

production is further complicated by the fact that only a few RIDS FOIPA analysts possess the

requisite technical training and FOIPA knowledge necessary to appropriately review and process

media and RIDS has a limited number of workstations with the technical capability for

processing media records.

                                      Media Processing Rate

        (5)    Plaintiff contends in their Opposition the FBI has not provided details as to where

in the FBI's multi-track processing regiment the Plaintiffs request currently resides (see ECF,

No. 19, Opposition page 11 ). As the FBI previously detailed in the First Seidel Declaration, the

rationale for the FBI's interim release policy is based on sound FOIA business practice. FOIA

encourages agencies to develop multi-track processing with the goal of responding to more

                                                 3
      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 4 of 12




requests. Additionally, the policy promotes both RIDS and requester efficiencies. Moreover,

maintaining a steady interim release posture is key in meeting the demands posed by the growing

number, size, and complexity ofFOIPA requests received by the FBI. Also, part of the process

in finalizing material for release involves information security. All FOIPA requests containing

law enforcement records and media are processed on a classified computer network. Thus, when

a CD is prepared for release after review and consultation, it must also undergo a multi-step

information security review. The running of these security protocols, and resolving any issues

that may arise, can require a significant amount of effort and time.

       (6)       All three of the above-mentioned factors work together to form the basis of the

FBI's interim release policy, designed to most equitably provide the largest number of requesters

the largest amount of information possible. Altering the FBI' s interim release policy to provide

more information faster or at a higher rate for requesters who litigate over those that do not

creates an imbalance of RIDS' finite FOIPA processing resources. In this instance, because the

Court Ordered rate of processing the paper and photographic records at a rate of 1,000 pages per

month is already twice the rate at which the FBI typically processes paper and photographic

records, processing at this higher rate means allowing one requester to consume a much larger

amount of RIDS resources and ahead of other requesters who submitted their requests prior to

Plaintiff. Without a compelling need to provide the media records in an expedited fashion, as

defined by 5 U.S.C. §§ 522(6)(E)(v)(I) and (II), the FBI asserts that such expedited treatment of

the portion of Plaintiff's request involving media would be unwarranted and further exacerbates

the imbalance.

        (7)      Plaintiffs request was moved from the administrative stage (first in and first out)

to accelerated litigation processing. In other words, Plaintiff's request has moved to the front of

                                                   4
      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 5 of 12




the line ahead of hundreds of other FOIA requesters that also have media production requests.

Currently, the FBI is processing media requests in nine (9) litigations (including Plaintiffs) with

another seven (7) litigations awaiting to begin media processing. Plaintiffs media processing

request is being handled as efficiently as possible with the limitations of personnel and resource

constraints. Plaintiff's request must share RIDS limited resources with the nine (9) litigations

with Court mandated processing schedules, while hundreds of other media processing requests

(including the additional seven (7) pending litigations) await the media processing team to

complete its current workload.

       (8)     As stated supra, RIDS instituted a policy of reviewing 15 minutes of video per

month, on CD or DVD, per request. As with non-media, this policy derives from, and is the

FBI's effort to comply with, DOJ FOIA regulations at 28 C.F.R. § 16.5(b) (regarding prompt

disclosure of responsive material upon payment of any applicable fees); adherence to this policy

is key to addressing the influx ofFOIPA requests containing media. In addition to processing

standard paper and electronic records in increments of 500 pages, by processing smaller portions

of media records in interim releases, the FBI is able to provide more media records to more

requesters, each month. Processing media in this manner avoids a system where a few requests

containing large amounts of media monopolize RIDS' limited FOIPA media processing

resources. Unfortunately, litigation media processing requests have exacerbated the production

of the backlog of media requests as litigation processing moves to the front of the line; therefore,

taking up a majority of the FBI's current resources.

        (9)    In contrast to the personnel available when processing standard records requests,

there are even fewer qualified RIDS analysts who possess the requisite skills to process media

records because processing media records requires two separate, specialized skill sets.

                                                 5
        Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 6 of 12




Currently, RIDS has two analysts assigned and dedicated to processing and reviewing FOIPA

media records. In fact, one of the two media analysts is a team lead and expert that reviews the

other media analyst's work. His own production efforts must stop to fulfill his concurrent review

duties. Additionally, RIDS has approximately three (3) analysts from the Digital Conversion

Unit ("DCU") available to conduct file conversions. 1

         (10)    First, as with non-media processing, the FOIPA analysts processing media records

must possess legal knowledge of the FOIA and Privacy Acts in order to appropriately review

media records for responsiveness and assert proper withholdings pursuant to the exemptions

afforded to federal agencies by the FOIA and Privacy Acts. Second, and differing from the

requisite skills needed to process non-media, these individuals must be technologically trained

and adept in addressing the multitudinous obstacles posed by processing FBI media records. 2

         ( 11)   Third, RIDS has only a few workstations capable of processing media records.

The equipment required for media processing is highly specialized and expensive. The formats

of FBI media records greatly vary and RIDS must have the equipment and software to review

and process all of these media types. Additional space and resources to acquire and

accommodate more equipment and software for additional media processing are not currently

available to RIDS.

          (12)   The Plaintiff points out that the FBI should move to add workstations and

additional personnel to media processing tasks. The FBI has asked for additional resources and



1
  DCU's stated purpose is to manage, consolidate, and operate the conversion of digitally
captured and "digitally born" files stored on various media types to requested file formats, to
ease the accessibility and usability for both investigative and administrative purposes. They play
a key role in helping the FBI manage information and records in the digital age.

2   The difficulties associated with media processing are discussed infra.
                                                   6
      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 7 of 12




will continue to do so.

       (13)    Interim releases allow this limited number of highly skilled individuals to process

FOIPA requests containing media in manageable, monthly pieces. This also enables RIDS to

make more releases to more requesters each month - their goal is to process media in 10 to 15

different FOIPA requests each month, and processing media in manageable portions allows

RIDS to meet this goal. Media records subject to the FOIPA often contain investigative

sensitivities requiring expert review by FBI investigative personnel or other subject matter

experts ("SMEs") outside of RIDS.

        (14)   As previously noted in ,i 5 supra, part of the process of finalizing material for

public release involves information security. As applied to records in media format, a CD/DVD

containing digital media must also undergo a multi-step information security review to move

information from the classified enclave to an unclassified, public release setting. Specifically,

RIDS personnel must first purge the media records of all metadata present within the records.

This metadata can contain sensitive information concerning the FBI's digital security measures

or the personal identifying information of FBI staff. For video and audio records, this takes

about half the time of the length of the digital media (7 .5 minutes for 15 minutes of video and 15

minutes for 30 minutes of audio). Following this step, the media must undergo a final quality

check by an expert FOIPA media reviewer. As detailed above, one of the two media processing

analysts acts as the expert media reviewer, thus slowing the overall production processing. This

quality check requires the FOIPA media expert to review the video and audio, through a real-




                                                  7
      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 8 of 12




time playback of the media. 3 The running of these security protocols, and resolving any issues

that may arise, requires a significant amount of time and effort which only increases as more

media is added to an interim production.

       (15)    All four of the above factors work together to form the basis of the FBI's interim

media release policy, designed to equitably provide the largest number of requesters the largest

amount of information possible.

                             Redaction of Exempt Video Information

       (16)    Once the video media are converted to a digital format,4 RIDS' FOIPA media

analysts then must review the material to determine if release of the media would present harms

under FOIPA exemptions. If such harms are present, RIDS' media analysts must redact exempt

material from the media. The First Seidel Declaration at '1!'1119-22 provided the layered media

processing approach (processing video and audio is a two-stage approach).

                           The FBI's Current Media Processing Rates

       (17)     To establish media processing rates, and similar to how RIDS calculated

processing rates for non-media, RIDS conducted time studies to discover the typical amount of

time it takes to apply redactions and prepare media files for public release. Through this study,

RIDS found 15 minutes of video typically requires approximately 11 hours of processing time.

RIDS found processing 30 minutes of audio typically requires about the same amount of time,

approximately 11 hours. Additionally, RIDS found 15 minutes of video and 30 minutes of audio




3 This review of the real-time playback often takes longer than the length of the actual
audio/video. This is because the reviewers often must pause, rewind, and/or re-review the media
as they endeavor to ensure no sensitive FBI equities are subject to release.
4
  The FBI provided detailed explanation of its conversion process in the First Seidel Declaration
at '11'1116-18.
                                                 8
      Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 9 of 12




presented ideal sizes for quality assurance reviews and reviews by external SMEs, as described

supra. Keeping media at this size allows RIDS media analysts to meet their goal of providing

media for approximately 10-15 different requests each month (this includes audio, video, and

high-quality photographs). Thus, RIDS determined these established processing sizes allow it to

equitably distribute its finite media processing resources to provide the most records to the

highest number of requesters each month.

        ( 18)   Furthermore, the FBI does not have the additional resources necessary to produce

more media records overall. Shifting more RIDS personnel to media processing would require

RIDS to pull from the cadre of RIDS analysts already fully engaged in standard processing of

pages. Shifting additional personnel has its limits due to the training necessary to process media.

As previously detailed, supra ,i 9, RIDS has only two (2) analysts assigned and dedicated to

processing and reviewing FOIPA media records; approximately three (3) analysts from the

Digital Conversion Unit ("DCU"), and a limited number of workstations capable of processing

media records to enable RIDS' current media processors to review and process media records

full time.

                           II. VOLUME OF RESPONSIVE VIDEOS

        (19)    As previously detailed in my First Seidel Declaration, the FBI determined, in

response to Plaintiffs request, that there are four (4) responsive videos totaling approximately 3

hours, 46 minutes, 52 seconds. See ECF, Document 12, Joint Status Report ("JSR"), dated

March 18, 2022. Plaintiff represented in the JSR that according to an FBI processing cost

estimate fee letter dated August 6, 2019, received by the Plaintiff, the FBI alleged it had "17

video files" potentially responsive to Plaintiffs FOIA request in addition to 2,378 responsive

pages of records. See First Seidel Declaration, Ex. A. Plaintiff further notes that in the

                                                 9
     Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 10 of 12




Defendant's Answer filed in response to Plaintiff's Complaint, the Defendant admitted the

contents of the letter. See ECF, Document 10, Answer'l[ 51.

       (20)    The FBI reported in its Answer that the FBI had located 2378 pages of records

and 17 video files responsive to Plaintiff's request. The page count was reported accurately, but

the FBI inadvertently reported 17 video files were located. Upon further review of the collected

responsive media, the JSR provided the accurate video count located in response to Plaintiff's

request, and the August 6, 2019, cost estimate letter, accurately reported it would require 17-CDs

(not 17-videos) to produce the responsive material for Plaintiff's request. The FBI regrets the

confusion to the Court and Plaintiff demonstrated by the inaccurate video count reported in the

Answer.

       (21)    The FBI advised in its August 6, 2019 cost letter, "The FBI located video files

that are potentially responsive to the subject of your request. If all of the potentially responsive

media is released, you will owe $255.00 (17 CDs at $15.00 each)." The FBI did not indicate that

it had located 17 videos; instead, the language in the FBI' s letter was to inform Plaintiff that with

regard to production cost estimates for media, it could take up to 17 CDs to produce the videos. 5

       (22)    For purposes of clarity, there are four (4) responsive videos as accurately reported

in the JSR. Based on the FBI's interim release policy for media, non-exempt information will be

provided across an estimated 17 monthly productions of one CD per month. The FBI determined

all non-exempt portions of the four (4) responsive videos containing approximately 3 hours, 46




5The FBI's letter also states, at the bottom of page 1, "[p]lease remember this is only an
estimate, and some of the information may be withheld in full pursuant to FOIA/Privacy Act
exemptions. Also, some of the information may not be responsive to your subject. Thus, the
actual charges could be less." Costs are no longer an issue because the production will be
provided to Plaintiff at no cost.
                                                  10
     Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 11 of 12




minutes, 52 seconds of material for review can be produced in 15 months (15 interim releases on

CD), after the FBI completes processing of the paper and photographic records.




                                               11
     Case 1:22-cv-00009-APM Document 21-1 Filed 05/18/22 Page 12 of 12




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.




       Executed this   /   ~Z     of May 2022.




                                                      MICHAEL G. SEIDEL
                                                      Section Chief
                                                      Record/Information Dissemination Section
                                                      Information Management Division
                                                      Federal Bureau oflnvestigation
                                                      Winchester, Virginia




                                                 12
